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IN THE UNITED sTATEs DISTRICT coURT FoR THE <5`¢0 \ §/
wEsTERN DISTRICT oF TENNESSEE _. y 4>`_,
WESTERN DIvIsIoN ,éz‘: f4;;»z <-° `~\ §
; '~:4:;>19 43 »5’
JEFFREY BUTLER ) Q<>”(_/&O/f § §§
) /1/?“/?’5/'/)5/;:`>?/€9
Plaintiff, ) ease No. 1:04ev1160 T-An 453 Q,\
v. ) 74
)
0RMET ALUMINUM MILLS )
PRoDUCTs,
Defendants.

 

DEFAULT

 

Upon the Motion for Dcfault, iiled by plaintiff on April 22, 2005,

DEFAULT IS HEREBY EN'I`ERED against the defendant, Ormet Aluminum Mills Products,
pursuant to

FRCVP 55(a).

In accordance to Rule 4, of the FRCVP, service Was made upon the named defendant,(}nnet
Aluminum Mills Products on March 7, 2004. The defendant has failed to plead or answer.

For good cause shown, the court may set aside this entry for default, pursuant to Rule 55(0).

Entered this 22th day of April 2005.

ROBERT R. DI TROLIO
Clerk of Court

By: 6 » ;\M’

Deputy Clerk

 
 

 

  

 
 

 
   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case l:04-CV-01160 Was distributed by faX, mail, or direct printing on
Apri122, 2005 to the parties listed.

 

Jeffrey Butler
126 Wilkinson
Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

